
Sanford, J.
The defendant contends that the only mode in which his adversary can before trial secure evidence contained in the books of account kept by him or in documents of which he has the exclusive possession is by an application for “discovery” under section 388 of the Code and the requirements of Supreme Court Rules 18, 19 and 20. In other words, that the plain and express provisions of section 390 and 391,— which authorize compulsory examination of a party as a witness at the instance of the adverse party before trial, in the same manner and subject to the same rules of examination as any other witness,—must be rejected as repugnant to or inconsistent with the privilege accorded by section 388,—under which in certain cases an inspection and copy of books and papers containing evidence relating to the suit, may be obtained through the order of the court, or a judge or justice thereof, in their discretion.
■ It is a settled rule of construction, that if there be a discrepancy between the statutes or different parts of the same statute, such an exposition of them should be made as will enable both to operate and have effect.
But I think there is no discrepancy between the two sections of the Code, which prescribe the remedies now in question. The purpose to be attained by one is en*353tirely different from that contemplated by the other; and both may be properly pursued in the same cause, either concurrently or at different stages of the litigation, as the exigencies of the case may require.
The books and papers of which an inspection or copy is procured under section 388 do not therefore become evidence in the cause. The party producing them may not, by virtue of their production, use them as evidence in his own favor ; and he at whose instance they are produced must, upon the trial, if he would put them in evidence, resort to the same process, and be subject to the same rule with respect to their production and admissibility, as if no such discovery had been made. But if called for and produced under a subpoena duces tecum they may be resorted to in the examination of any person as a witness, whether a party or not, and whether he be examined at the trial or previously; and it would be unreasonable and unjust to withhold that process merely because a discovery is also allowed under certain special circumstances.
But a subpoena duces tecum may not be used as. the means of obtaining a discovery; and the party calling for the production of books and papers on the' preliminary examination of a party or other witnesses, before trial will be required to pursue the examination with respect to their contents in the same manner and subject to the same rules as if the trial were actually proceeding in court.*
*354' I am aware that there is some conflict of decisions in the different courts on the question; but the conclusion at which I have arrived is amply sustained, not only by the informal direction of Judge Sedgwick, already made in the case at bar (to which I should unhesitatingly defer, even were my own views in conflict with his), but by repeated adjudications in the appellate branch of this court, to whose authority I am bound to submit (People ex rel. Valentine v. Dyckman, 24 How. Pr. 222; Central National Bank v. Arthur, 2 Sweeny, 194; Central National Bank v. White, 37 Super. Ct. 297. This motion must be denied with costs.
No appeal was taken.

 In Edmonstone v. Hartshorn, 19 N. Y. 9 (1859, opin. by Johnson, Ch. J.), the plaintiff had examined a witness de lene me, and by him proved certain letters. On the trial [by consent the deposition was not filed, but left in the plaintiff’s hands till the trial] some of these letters were read in evidence Defendant’s counsel called thereupon for the production of others referred to in the deposition, but not put in evidence. Defendant refused to produce them.
Held, that he was not bound to produce them. The court say:
“If he [the plaintiff] desired and was entitled to the benefit of *354them as evidence, he should have procured a discovery or been prepared to give parol evidence of their contents.”

